                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                            No. CR05-3028-MWB
 vs.                                         ORDER ACCEPTING MAGISTRATE
                                                  JUDGE’S REPORT AND
 BRIAN HOWE,
                                             RECOMMENDATION REGARDING
                Defendant.                     DEFENDANT’S GUILTY PLEA
                               ____________________

                       I. INTRODUCTION AND BACKGROUND
         On January 11, 2006, a second superseding indictment was returned against
defendant Brian Howe, charging defendant with possessing with intent to distribute
methamphetamine and cocaine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and
841(b)(1)(C), manufacturing, attempting to manufacture, and aiding and abetting an
attempt to manufacture five grams or more of pure methamphetamine, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(B), 846 and 18 U.S.C. § 2, possession of firearms by an
unlawful user of controlled substances, in violation of 18 U.S.C. §§ 922(g)(3) and
924(a)(2), and distributing and aiding and abetting the distribution of methamphetamine,
in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 18 U.S.C. § 2. On March 31,
2006, defendant appeared before United States Magistrate Judge Paul A. Zoss and entered
a plea of guilty to Counts 1 and 3 of the second superseding indictment. On this same
date, Judge Zoss filed a Report and Recommendation in which he recommends that
defendant’s guilty plea be accepted.     No objections to Judge Zoss’s Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Zoss’s recommendation to accept defendant’s plea in this case.




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                                    II. ANALYSIS
      Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b). In this case, no objections have been filed, and it appears to the
court upon review of Judge Zoss’s findings and conclusions, that there is no ground to
reject or modify them.      Therefore, the court accepts Judge Zoss’s Report and
Recommendation of March 31, 2006, and accepts defendant’s plea of guilty in this case
to Counts 1 and 3 of the second superseding indictment.
      IT IS SO ORDERED.
      DATED this 31st day of March, 2006.




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